                       UNITED STATES DISTRICT COURT
 1
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2
     John Doe & Jane Doe, on behalf              Case No.
 3   of themselves and all others
 4   similarly situated,
                                                 ____________________
 5                         Plaintiffs,
 6
     v.
 7                                               Application for Admission of
     Meta Platforms, Inc.,                       Attorney Pro Hac Vice
 8                                               (Civil LR 11-3)
 9
                           Defendant.
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11
           I, Marshal J. Hoda, an active member in good standing of the bar of the State
12
     of Texas, hereby respectfully apply for admission to practice pro hac vice in the
13
     Northern District of California representing named Plaintiffs John Doe and Jane Doe
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     and the putative class in the above-styled class action litigation. I am admitted to
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     practice and in good standing in the Southern District of Texas. A true and correct
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     copy of a certificate of good standing issued to me by the Texas State Bar is attached
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     to this application. I have been granted admission pro hac vice admission by this court
18
     once in the 12 months preceding this application.
19
           My local co-counsel in this case is Steven Vondran, an attorney who is a
20
     member of the bar of this Court in good standing and who maintains an office within
21
     the State of California. Mr. Vondran’s California bar number is 232337.
22
           Mine and Mr. Vondran’s contact information of record is as follows.
23
24                     Marshal Hoda                      Steven Vondran
      Address          12333 Sowden Road                 One Sansome Street, Suite 3500
25                     Suite B, PMB 51811                San Francisco, CA 94194
                       Houston, TX 77080
26
      Telephone No.    (832) 848-0036                    (877) 276-5084
27    Email            marshal@thehodalawfirm.com        steve@vondranlegal.com

28                                         Page 1 of 2
 1         By signing below, I agree to familiarize myself with, and abide by, the Local
 2   Rules of this Court, especially the Standards of Professional Conduct for attorneys
 3   and the Alternative Dispute Resolution Local Rules. I declare under penalty of
 4   perjury that the forgoing is true and correct.
 5
 6   Dated: December 1, 2022                   Respectfully submitted,

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12
                                               Marshal J. Hoda, Esq.
13                                             Texas Bar No. 2411009
                                               12333 Sowden Road, Suite B
14
                                               Houston, TX 77080
15                                             o. (832) 848-0036
                                               marshal@thehodalawfirm.com
16                                             THE HODA LAW FIRM, PLLC
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28                                         Page 2 of 2
                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

November 20, 2022



Re: Marshal J. Hoda, State Bar Number 24110009


To Whom It May Concern:

This is to certify that Marshal J. Hoda was licensed to practice law in Texas on November 02, 2018,
and is an active member in good standing with the State Bar of Texas. "Good standing" means that
the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
